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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF KENTUCKY
                               LEXINGTON DIVISION

IN RE:                                                                               CHAPTER 7

EASTERN AIR FLOW, LLC                                                        CASE NO. 18-51740

DEBTOR


                  AMENDMENT TO SCHEDULE F OF THE PETITION



       Comes the Debtor, EASTERN AIR FLOW, LLC, by and through the court-appointed

designated representative, and Counsel for the Debtor, and after being duly sworn, hereby amend

its Bankruptcy Petition to add additional unsecured, non-priority creditors to Schedule F that were

inadvertently omitted from the original petition, under oath and subject to penalties of perjury, as

follows:

1.     Name and Address of Creditor                          Amount         Description

Advanced Disposal, LLC                                       $240           Product delivered or
c/o Michael Kwaithowski                                                     services rendered or
Caine & Weiner                                                              credit extended
5805 Sepulveda Blvd.
Sherman Oaks, CA 91411

Citizens Bank of Kentucky,                                   $7,862         Product delivered or
Successor in Interest to Citizens National Bank                             services rendered or
c/o Jill Hall Rose, Esq.                                                    credit extended
Rose Law Offices
154 N. Ashland Ave.
Lexington, KY 40502

First Global Capital                                         $59,601       Product delivered or
c/o Allen Reed                                               as of 7/13/17 services rendered or
1250 East Hallandale Beach Blvd., Suite 406                                credit extended
Hallandale Beach, FL 33009

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LMR Custom Home Construction, LLC                            $63,707        (claim disputed)
c/o Carl D. Edwards, Jr., Esq.                               Counter-claim asserted in Madison
300 E. Main Street, Suite 360                                Circuit Court Case #17-CI-329
Lexington, KY 40507

Premier Capital Funding, LLC                                 $92,143        Product delivered or
c/o Bankruptcy Department                                                   services rendered or
9265 4th Ave.                                                               credit extended
Brooklyn, NY 11209

Sunbelt Rentals                                              $7,000         Product delivered or
c/o Tucker Albin & Associates, Inc.                                         services rendered or
1702 N. Collins Blvd., Suite 100                                            credit extended
Richardson, TX 75080

Waste Connections of KY, Inc.                                $276           Product delivered or
PO Box 808                                                                  services rendered or
Lily, KY 40740-0808                                                         credit extended

        I, JUSTIN TROUT, being the court-appointed designated representative of the Debtor,
EASTERN AIR FLOW, LLC, hereby verifies under oath and subject to penalty of perjury, that
the information stated above is true and correct to the best of my information, knowledge and
belief.

                                              EASTERN AIR FLOW, LLC

Dated: October 16, 2018                       BY:_ /s/ Justin Trout                                .
                                                   JUSTIN TROUT, President

                                 CERTIFICATE OF SERVICE

         This is to certify that on this the 16th day of October 2018, a copy of the foregoing was
served electronically in the method established under CM/ECF Administrative Procedures Manual
to all attorneys of record, including the Chapter 7 Trustee and the U.S. Trustee and by email to the
Debtor, and that all creditors listed above, by U.S. Mail, first class postage prepaid, along with a
copy of the Notice of Commencement of the Chapter 7 Case with the full EIN [Doc. #2].

BUNCH & BROCK, PSC

BY:  /s/ Matthew B. Bunch                             .
   MATTHEW B. BUNCH, ESQ.
   271 W. Short Street, Suite 805
   Lexington, KY 40507
   (859) 254-5522
COUNSEL FOR DEBTOR
                                                 2
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Advanced Disposal, LLC
c/o Michael Kwaithowski
Caine & Weiner
5805 Sepulveda Blvd.
Sherman Oaks, CA 91411


Citizens Bank of Kentucky,
Successor in Interest to Citizens National Bank
c/o Jill Hall Rose, Esq.
Rose Law Offices
154 N. Ashland Ave.
Lexington, KY 40502


First Global Capital
c/o Allen Reed
1250 East Hallandale Beach Blvd., Suite 406
Hallandale Beach, FL 33009


LMR Custom Home Construction, LLC
c/o Carl D. Edwards, Jr., Esq.
300 E. Main Street, Suite 360
Lexington, KY 40507


Premier Capital Funding, LLC
c/o Bankruptcy Department
9265 4th Ave.
Brooklyn, NY 11209


Sunbelt Rentals
c/o Tucker Albin & Associates, Inc.
1702 N. Collins Blvd., Suite 100
Richardson, TX 75080


Waste Connections of KY, Inc.
PO Box 808
Lily, KY 40740-0808




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